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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 21-0695V


    RUBY SIDDLE,
                                                              Chief Special Master Corcoran
                         Petitioner,
    v.                                                        Filed: March 26, 2024


    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEY’S FEES AND COSTS 1

      On January 12, 2021, Ruby Siddle filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleged that she suffered a Table shoulder injury related to
vaccine administration and/or brachial neuritis as a result of an influenza vaccine on
December 26, 2019. Petition, ECF No. 1. On July 24, 2023, I issued a decision awarding
compensation to Petitioner based on the Respondent’s proffer. ECF No. 51.




1
  Because this Decision contains a reasoned explanation for the action taken in this case, it must be made
publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or at
https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government Act of
2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
inf ormation, the disclosure of which would constitute an unwarranted invasion of privacy. If , upon review, I
agree that the identified material fits within this definition, I will redact such material f rom public access.
2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section ref erences to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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       Petitioner has now filed a motion for attorney’s fees and costs, requesting an award
of $32,713.34 (representing $30,313.60 in fees plus $ 2,399.74 in costs). Petitioner’s
Application for Fees and Costs (“Motion”) filed Jan. 5, 2024, ECF No. 58. In accordance
with General Order No. 9, Petitioner filed a signed statement representing that Petitioner
incurred $16.50 in out-of-pocket expenses. ECF No. 59.

       Respondent reacted to the motion on Jan. 5, 2024, reporting that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case, but deferring resolution of the amount to be awarded to my discretion. Respondent’s
Response to Motion at 2-3, ECF No. 60. Petitioner did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates. Furthermore, Petitioner has provided supporting documentation for all
claimed costs. Motion at 30-49. Respondent offered no specific objection to the rates or
amounts sought.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs for
successful claimants. Section 15(e). Accordingly, I hereby GRANT Petitioner’s Motion for
attorney’s fees and costs. Petitioner is awarded the total amount of $32,729.84 3 as
follows:

            •    A lump sum of $32,713.34, representing reimbursement for fees and
                 costs, in the form of a check payable jointly to Petitioner and
                 Petitioner’s counsel, Ronald C. Homer and

            •    A lump sum of $16.50, representing reimbursement for Petitioner’s
                 costs, in the form of a check payable to Petitioner.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk of Court shall enter judgment in accordance with this Decision. 4




3
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as f ees f or legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by f iling a joint notice
renouncing their right to seek review.
                                                    2
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IT IS SO ORDERED.

                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




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